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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF PENNSYLVANIA

     ~hroae.\                     AJ)urK'                  ,)f




      (In the space above enter the full name(.r) of the plaintifff.r).)
                                                                                                19            5792
                             - against-

     ..) c)    Q()      C ~rtJW (                                                     COMPLAINT
                                                                                           under the'
                                                                               Civil Righu Act. 42 U.S.C. § 1983
                                                                                      (Prisoner Complaint)


                                                                                  Jury Trial:   ~      D No
                                                                                                 (check one)




                                                                                     FILED
                                                                                     Ot.C -9     2019
                                                                               8 KATEBARKMAN, eta
                                                                                y_      _Dep. C18tt

(In the space above enter the full name(.r) of the defendant(.r). If you
cannot fit the names of all of the defendants in the space provitkd,
plea.re write ".ree attached" in the space above and attach an
additional sheet ofpaper with the full list of names. The names
listed in the above caption must be ithntical to tho.re contained in
Part L Addresses should not be included here.)


L           Parties in this complaint:

A.          List your name, identification number, and the name and address of your current place of
            confinement. Do the same for any additional plaintiffs named. Attach additional sheet~ of paper
            as necessary.

Plaintiff




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 B.                   List all defendants' names, positions, places of employment, and the address where each defendant
                      may be served. Make sure that the defcndant(s) listed below arc identical to those contained in the
                      above caption. Attach additional sheets of paper as necessary.

 Dofend""t No. I                                             N=•                      \ ; )\                i ~~ B <) d d                                                             Shield   I~ f'.
                                                             Where Currently Employed                                                         }'2C'6) C.C9lbt carro}rvl'l?f                                :f'l(<L   l,·fr
                                                             Address                                        tJA

 Defendant No. 2                                             Name     J:)c C..Q )),· ~;J .              Shield# N4       (
                                                             Where Currently Employed ~\&--)() CoL?qj=-1 Cocrec h<.l):i) fctl«)/f J
                                                                                                                                          HX                                      )                                          I
                                                             Address~~~~~~~~O!....__!=;-i-~~~~~~~~~~~~~~~~




 Defendant No. 3                                             Name                     f 4v{                          /940~                                                        Shield#       N4
                                                             Where Currently Employed                                                                       ])   ~/      ((),rltj        C12cced1v-..4/ {ru_; fi'J-t
                                                             Address                                                       ~JJ


 Defendant No. 4                                             Name                              ) (2C,I")                     C '{: CJ'v\l'<                                       Shield#        #4     f
                                                             Where Currently Employed                                                                       I3 t,L(.()   ( CJIJ/lry     (£2CC~\Jve4) "'(" (J.. e,; /,.f-1
                                                             Address~~~~~~~~~~~~~~~~~~~~~~-~-~




 Defendant No . .S                                           Name~~-=-.LL...L-~.L;;;....:~=-~~~-~~~-~
                                                             Where Currently Employed                                                 --=~....,...:>..,..L-..J~~~'.-4--~~~~.:::.L~::::.:.J:..- {c<c /}, ·1-j
      .... ' .....    .;.... "'""'"""""-> ..   ~'' "'J   -
                                                             Address
                                                             n:-.o' Jo:\:>•   l_{.p   ·-1. •   .i" •• ·~~
                                                                                                             f\)4
                                                                                                            ;Jo,,.,,.,.•   l"•-..T"   .... .,,...;   <Toi




IL                   Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, alon1 with the dates and locations of all relevant events.
You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege I number of related claims,
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A.                                                                                                                                                          .               BVt.K)             CrJJ1.21f   J
B.                   Where in the institution did the events giving rise to your claiin(s) occur?



C.               What date and approximate time did the eve~ giving rise to your claim(s) occur?
      ) an ~oc-,1 do (K                                                         ft b\i"r={                                      cl~! Y l\llu{'fc b ~o) ~
R•v. 1012001                                                                                                               - 2-
           ..
                              Case 2:19-cv-05792-GJP Document 2 Filed 12/09/19 Page 3 of 11



                  D.




  Who
   did
  what?




  w••
  anyone
                       see:
   •'-•
lnVDIYed?




 WhoelH
 HWWllat
happened?




                ill.      Injuries:




                IV.      Exhaustiop of Administratin Remedies:

                The Prison Litigation Reform Act (wPLRA w), 42 U .S.C. § l 997e(a), requires that " [n]o action shall be
                brought with respect to prison conditions under section 1983 of this title, or any other Federal law, by a
                prisoner confined in any jail, prison, or other correctional facility until such administrative remedies as arc
                available a.re exhausted." Administrative remedies arc also known as grievance procedures.



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                A.       Did y ° / . ( s ) arise while you were confined in a jail.. prison, or other correctional facility?

                         Yes _ _ No _ _

                If YES, name the jail, prison, or other correctional facility where you were confined at the time of the
                events giving ·su~;rr claim(8.
                                                                                                                  11
                                                                                                                       ~ ftV>O   J

                B.       Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
                         proced7

                         Yes _ _ No _ _ Do Not Know _ _


                C.       Docs the grievance procedure at the jail, prison or other correctional facility where your claim(s)
                         arose cover some or all of your claim(s)?

                         Yes _ _ No _ _ Do Not Know             ~
                         If YES, which claj.m(s)? - - - - - - - - - - - - - - - - - - - - - - - -


               D.        Did yo7cvancc in the jail, prison, or other correctional facility where your claim(s) arose?

                         Yes __ No _ _

                         If NO, did you file a grievance about the events described in this complaint at any other jail,
                         prison, or other correctional facility?

                         Yes _ _ No _ _



               E.        If you did file a grievance, about the events described in this complaint, where did you file the
                         grievance?
                             I    £;/eJ 1t-t," Mfu
- - - ---- -- ·· --··--1-.--       Which cjaim(s) in-this·c-omp1a:iurdidyo.rgrieve7·-I-· VJ-eaf€.-·-JD---- ·1J:et"Yt 'Q- bu#··
                         dl t      me. d;(A f-'r(c 'Ytd. \J              w.     \,J<i) herf,ffn rJ /0 11,Jt \)
                        2.         What was the result, if any? -~f\_,~,_.M.J~.,...,.~~r------------------
                                                                          .
                        3.

                                 £hi"'"'
                                   What steps, if any, did you take to appeal that decision? Describe all efforts to appeal to

                                              1cvo1 ., tho   j~.ce process.     r      Affev {e J tu tr(
                                 ~;!( o~~l 5t~~-r -l~r~~~t.:


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v


     F.         If you did not file a grievance:



                1.         If there arc any reasons why you did not file a grievance, state them here: - - - - - - -




                2.         If you did not file a grievance but informed any officials of your claim, state who you
                           informed, when and how, and their response, if any: _ _ _ _ _ _ _ _ _ _ _ _ _ __




     G.         Please set forth any additional information that is relevant to the exhaustion of your administrative

                remedies·-----------------------------------




                .                                                                                                                                    '
    Note:      You may attach. as exhibits ~o.tl!is cp,iµplaii;i.tl.!IJ~d_Q.<oum~el}ts related to the. c;b.~usti9~ 1gf,Y,.P,U!i.:..,_1...:, ~-. "novi·~ .,,-....,,., .,:,..•.<.':';
               administrative remedies.



    V.         Relief:




    R..,. 1012001                                                    - 5-
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          VL        Previous lawsuits:


         A.                               e r its in state or federal court dealing with the same facts involved in this
                    Have you filed 7 t hlaws
                    action?
 On
lhH•
Cl•lm•
                    Yes __ No _ _

          B.         If your answer to A is YES, describe each lawsuit by ao.J-Wering questions 1 through 7 below. (H
                    there is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using


                    1.      Parties to the previous lawsuit:




                   2.       Court (if federal court, name the district; if state court, name the county) _ _ _ _ _ __

                   3.       Docketorlndexnumber _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                   4.       Name of Judge assigned to your case------------------~--

                   5.       Approximate date of filing lawsuit-~-------------------

                   6.       Is the case still pending?   Yes __ No _ _

                            If NO, give the approximate date of disposition - - - - - - - - - - - - - - - - -

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                    7.          What was the result of the case? (For example: Was the case dismissed? Was there
                                judgment in your favor? Was the case appealed?) _ _ _ _ _ _ _ _ _ _ _ _ _ __




 On
           c.           Hm    ~the< law•ui" U. "'"' •< f<donl rourt7
other                   Ycs __ No _ _
cl•lm•

           D.           If your answer to C is YES, describe each lawsuit by answering questions 1 through 7 below. (If
                        there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using
                        the same format.)




                                                                                                                  E«,, µ'f--1I
                    2.          Court (if federal court, name the district; if state court, name the county)             Fq>JeJ2l Dl5fr/c-7
                    3.          Dockctorlndexnumbcr_--tff--l:O:~--~-+~~--~---------------
                    4.          Name of Judge assigned to your case         _;!1_.,_~....._--+l:fg+-_._,. .
                                                                                                          ,../_ _ _ _ _ _ _ _ __
                                                                                                          1


                    5.          Approximate date of filing lawsuit _ __,,.,.,__\........  l_-_~~--f)--.f_Y~-------­
                    6.          Is the case still pending?     Y cs .;;;;:_ _

                                If NO, 1ive the approximate date of d i s p o s i t i o n - - - - - - - - - - - - - - - -

                    7.         What was the result of the case? (For example: Was the cr,dirrssegas tJicre
                               Judgment in your favor? Was. the case appealed?)          I          :>
                                                                                                   cl)A T
                                                                                                                           7
                           -
         I declare under penalty of perjury that the fore1oin1 is true and correct.

         Signed this     -i--   day of    ~k-r                                        .20J.i.                 '      /
                                                                  Signature of Plaintiff         J ~t'----
                                                                        Inmate Number             N/1Dd_o ~
                                                                    Institution Address            .>Ci StYJ, .jh KC {J
                                                                                                  )I do flXe; Yfreet



         R•v. 101200•                                                - 7-
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    ~·
                   Note:          All plaintlffs named in the caption of the complaint must date and sign the complaint and provide
                                  their inmate numbers and addresses.




                   I declare under penalty of perjury that on this      _.!::l day of.. T:x2_,ce (?"",   bee .20Jf-_.       I am delivering
                   this complaint to prison authorities to be mailed to the Clerk's Office of the United States District Court for the
                   Eastern District of Pennsylvania.




                                                                         Signature of Plaintiff:




                                         .'




                 R•v. 111120011                                            - 8-




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